                             U.S. Equal Employment Opportunity Commission
                                         Nashville Area Office
                                                                                                                   220 Athens Way
                                                                                                                           Suite 350
                                                                                                                Nashville, TN 37228
                                                                                                                     (615) 736-5820
                                                                                                                TTY (615) 736-2262
                                                                                                                Fax: (615) 736-2107

Respondent: AUSTIN PEAY STATE UNIVERSITY
EEOC Charge No.: 494-2019-02950
FEPA Charge No.:
                                                                                 July 23, 2020

Corletra Mance, Esq.
TENNESSEE LAW GROUP
1201 7th Avenue North
Nashville, TN 37208


Dear Ms. Mance:

This is with reference to your recent written correspondence or intake questionnaire in which you alleged employment
discrimination by the above-named respondent. The information provided indicates that the matter complained of is
subject to the statute(s) checked off below:

    [X]     Title VII of the Civil Rights Act of 1964 (Title VII)

    [ ]     The Age Discrimination in Employment Act (ADEA)

    [ ]     The Americans with Disabilities Act (ADA)

    [ ]     The Equal Pay Act (EPA)

    [ ]     The Genetic Information Nondiscrimination Act (GINA)

The attached EEOC Form 5, Charge of Discrimination, is a summary of your claims based on the information you
provided. Because the document that you submitted to us constitutes a charge of employment discrimination, we have
complied with the law and notified the employer that you filed a charge. Before we investigate your charge, however,
you must sign and return the enclosed Form.

To enable proper handling of this action by the Commission you should:

(1) Review the enclosed charge form and make corrections.

(2) Sign and date the charge in the bottom left hand block where I have made an “X”. For purposes of meeting the
    deadline for filing a charge, the date of your original signed document will be retained as the original filling date.

(3) Return the signed charge to this office.

Before we initiate an investigation, we must receive your signed Charge of Discrimination (EEOC Form 5). Please sign
and return the charge within thirty (30) days from the date of this letter. Under EEOC procedures, if we do not hear from
you within 30 days or receive your signed charge within 30 days, we are authorized to dismiss your charge and issue you
a right to sue letter allowing you to pursue the matter in federal court. Please be aware that after we receive your signed
Form 5, the EEOC will send a copy of the charge to Tennessee Human Rights Commission 312 Rosa L. Parks Avenue,
23rd Floor Nashville, TN 37243 as required by our procedures. If that agency processes the charge, it may require the
charge to be signed before a notary public or an agency official. The agency will then investigate and resolve the charge
under their statute.




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Please use the "EEOC Charge No." listed at the top of this letter whenever you call us about this charge. Please also
notify this office of any change in address or of any prolonged absence from home. Failure to cooperate in this matter
may lead to dismissal of the charge.

Please also read the enclosed brochure, “What You Should Know Before You File A Charge With EEOC,” for answers
to frequently asked questions about employee rights and the EEOC process. If you have any questions, please call
me at the number listed below. If you have to call long distance, please call collect.


                                                       Sincerely,


                                                           //SL//
                                                       _________________________________________
                                                       Stephen R. Liston
                                                       Lead Systemic Investigator
                                                       (629) 236-2259


Office Hours: Monday – Friday, 8:30 a.m. - 5:00 p.m.
www.eeoc.gov

Enclosure(s)
   Copy of EEOC Form 5, Charge of Discrimination
   Copy of EEOC Uniform Brochure, “What You Should Know Before You File A Charge With EEOC.”

cc: Chineyere O. Mcgruder
    5330 Smiley Hollow Rd
    Goodlettsville, TN 37072




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EEOC Form 5 (11/09)


                      CHARGE OF DISCRIMINATION                                                            Charge Presented To:             Agency(ies) Charge No(s):
            This form is affected by the Privacy Act of 1974. See enclosed Privacy Act                           FEPA
                   Statement and other information before completing this form.
                                                                                                              X EEOC                          494-2019-02950
                                                      Tennessee Human Rights Commission                                                                    and EEOC
                                                                          State or local Agency, if any

Name (indicate Mr., Ms., Mrs.)                                                                                    Home Phone (Incl. Area Code)           Date of Birth

Dr. Chineyere O. Mcgruder
Street Address                                                                   City, State and ZIP Code

5330 Smiley Hollow Rd, Goodlettsville, TN 37072

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That I Believe
Discriminated Against Me or Others. (If more than two, list under PARTICULARS below.)
Name                                                                                                              No. Employees, Members     Phone No. (Include Area Code)

AUSTIN PEAY STATE UNIVERSITY                                                                                         Unknown
Street Address                                                                   City, State and ZIP Code

601 College Street, Clarksville, TN 37044

Name                                                                                                              No. Employees, Members     Phone No. (Include Area Code)



Street Address                                                                   City, State and ZIP Code




DISCRIMINATION BASED ON (Check appropriate box(es).)                                                                      DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                                Earliest              Latest

    X     RACE              COLOR            X     SEX                 RELIGION                NATIONAL ORIGIN               08-26-2019                06-09-2020
              RETALIATION                 AGE              DISABILITY                    GENETIC INFORMATION

                       OTHER (Specify)                                                                                              X      CONTINUING ACTION

THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):
 See attached.




I want this charge filed with both the EEOC and the State or local Agency, if any. I          NOTARY – When necessary for State and Local Agency Requirements
will advise the agencies if I change my address or phone number and I will
cooperate fully with them in the processing of my charge in accordance with their
procedures.                                                                                   I swear or affirm that I have read the above charge and that it is true to
I declare under penalty of perjury that the above is true and correct.                        the best of my knowledge, information and belief.
                                                                                              SIGNATURE OF COMPLAINANT



                                                                                              SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                                                                              (month, day, year)

           Date                                Charging Party Signature


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CP Enclosure with EEOC Form 5 (11/09)

PRIVACY ACT STATEMENT: Under the Privacy Act of 1974, Pub. Law 93-579, authority to request
personal data and its uses are:

1.     FORM NUMBER/TITLE/DATE. EEOC Form 5, Charge of Discrimination (11/09).

2.     AUTHORITY. 42 U.S.C. 2000e-5(b), 29 U.S.C. 211, 29 U.S.C. 626, 42 U.S.C. 12117, 42 U.S.C. 2000ff-6.

3.    PRINCIPAL PURPOSES. The purposes of a charge, taken on this form or otherwise reduced to
writing (whether later recorded on this form or not) are, as applicable under the EEOC anti-
discrimination statutes (EEOC statutes), to preserve private suit rights under the EEOC statutes,
to invoke the EEOC's jurisdiction and, where dual-filing or referral arrangements exist, to begin
state or local proceedings.

4.    ROUTINE USES. This form is used to provide facts that may establish the existence of matters
covered by the EEOC statutes (and as applicable, other federal, state or local laws). Information
given will be used by staff to guide its mediation and investigation efforts and, as applicable, to
determine, conciliate and litigate claims of unlawful discrimination. This form may be presented to
or disclosed to other federal, state or local agencies as appropriate or necessary in carrying out
EEOC's functions. A copy of this charge will ordinarily be sent to the respondent organization
against which the charge is made.

5.    WHETHER DISCLOSURE IS MANDATORY; EFFECT OF NOT GIVING INFORMATION. Charges must be
reduced to writing and should identify the charging and responding parties and the actions or
policies complained of. Without a written charge, EEOC will ordinarily not act on the complaint.
Charges under Title VII, the ADA or GINA must be sworn to or affirmed (either by using this form
or by presenting a notarized statement or unsworn declaration under penalty of perjury); charges
under the ADEA should ordinarily be signed. Charges may be clarified or amplified later by
amendment. It is not mandatory that this form be used to make a charge.

                              NOTICE OF RIGHT TO REQUEST SUBSTANTIAL WEIGHT REVIEW

Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-files charges
with EEOC will ordinarily be handled first by the FEPA. Some charges filed at EEOC may also be
first handled by a FEPA under worksharing agreements. You will be told which agency will handle
your charge. When the FEPA is the first to handle the charge, it will notify you of its final
resolution of the matter. Then, if you wish EEOC to give Substantial Weight Review to the FEPA's
final findings, you must ask us in writing to do so within 15 days of your receipt of its findings.
Otherwise, we will ordinarily adopt the FEPA's finding and close our file on the charge.

                                        NOTICE OF NON-RETALIATION REQUIREMENTS

Please notify EEOC or the state or local agency where you filed your charge if retaliation is
taken against you or others who oppose discrimination or cooperate in any investigation or
lawsuit concerning this charge. Under Section 704(a) of Title VII, Section 4(d) of the ADEA,
Section 503(a) of the ADA and Section 207(f) of GINA, it is unlawful for an employer to
discriminate against present or former employees or job applicants, for an employment agency to
discriminate against anyone, or for a union to discriminate against its members or membership
applicants, because they have opposed any practice made unlawful by the statutes, or because
they have made a charge, testified, assisted, or participated in any manner in an investigation,
proceeding, or hearing under the laws. The Equal Pay Act has similar provisions and Section
503(b) of the ADA prohibits coercion, intimidation, threats or interference with anyone for
exercising or enjoying, or aiding or encouraging others in their exercise or enjoyment of, rights
under the Act.

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